            Case 1:20-cv-01469-DLF Document 91 Filed 11/13/20 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 BLACK LIVES MATTER D.C., et al.,
                          Plaintiffs,
                  v.                                         Case No. 1:20-cv-01469-DLF



 DONALD J. TRUMP, et al.,
                          Defendants.

  JOINT MOTION TO SET BRIEFING SCHEDULES AND EXTEND THE TIME TO
FILE RESPONSES AND REPLIES WITH RESPECT TO DEFENDANTS ADAMCHIK’S
        AND SEIBERLING’S MOTIONS TO DISMISS THE COMPLAINT

          Plaintiffs Black Lives Matter D.C., Toni Sanders, J.N.C., Kishon McDonald, Garrett

Bond, Keara Scallan, Lia Poteet, Dustin Foley, and E.X.F. (“plaintiffs”) and Defendants Mark

Adamchik and Cara Seiberling, as sued in their individual capacity (“defendants”) (collectively

with plaintiffs, “the parties”), respectfully move this Court to establish the briefing schedules set

forth below for defendants’ motions to dismiss the complaint, which schedules would include

extensions of time both for plaintiffs to file opposition papers and for defendants to file reply

papers.

          Currently, under the Federal Rules of Civil Procedure and the Local Rules, defendant

Adamchik’s motion to dismiss is due on November 16, 2020, with plaintiffs’ opposition due on

November 30, 2020, and defendant Adamchik’s reply due on December 7, 2020. Defendant

Seiberling’s motion to dismiss is due on January 11, 2021, with plaintiffs’ opposition due on

January 25, 2021, and defendant Seiberling’s reply due on February 1, 2021.

          The parties have conferred and agreed that it would be appropriate to set briefing

schedules and extend the response and reply deadlines for defendant Adamchik’s and defendant

Seiberling’s motions to dismiss. Based on the scope and nature of the litigation to date, both
           Case 1:20-cv-01469-DLF Document 91 Filed 11/13/20 Page 2 of 4




sides anticipate that briefing on those defendants’ dismissal motions will raise substantial and

complex legal issues, and the proposed briefing schedules and extensions of time will enable the

parties a reasonable time to prepare opposition and reply papers fully addressing those issues.

         Accordingly, the parties respectfully request that the Court establish the following

briefing schedules:

   (1) For defendant Adamchik’s motion to dismiss, plaintiffs’ opposition due on or before
       December 14, 2020, and defendant Adamchik’s reply due on or before January 11, 2021;

   (2) For defendant Seiberling’s motion to dismiss, plaintiffs’ opposition due on or before
       February 8, 2021, defendant Seiberling’s reply due on or before March 8, 2021


         The parties jointly and respectfully request that the Court enter the attached proposed

order.

Dated: November 13, 2020
                                               Respectfully submitted,


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                                               Acting Assistant Attorney General
                                               Civil Division

                                               C. SALVATORE D’ALESSIO, JR.
                                               Acting Director, Torts Branch


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                                                  2
Case 1:20-cv-01469-DLF Document 91 Filed 11/13/20 Page 3 of 4



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                              3
Case 1:20-cv-01469-DLF Document 91 Filed 11/13/20 Page 4 of 4




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                              4
        Case 1:20-cv-01469-DLF Document 91-1 Filed 11/13/20 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 BLACK LIVES MATTER D.C., et al.,
                        Plaintiffs,
               v.                                       Civil Action No. 20cv1469-DLF



 DONALD J. TRUMP, et al.,
                        Defendants.

    [PROPOSED] ORDER SETTING BRIEFING SCHEDULES FOR MOTIONS TO
                              DISMISS

       Upon consideration of the Plaintiffs’ and the Moving Defendants’ Joint Motion to Set

Briefing Schedules and Extend the Time to File Opposition and Replies With Respect to

Defendants Adamchik’s and Seiberling’s Motions to Dismiss the Complaint, and the entire record

herein, it is hereby ORDERED that:

       1. On or before November 16, 2020, Defendant Adamchik shall file his Motion to Dismiss

          Plaintiffs’ Complaint;

       2. On or before December 14, 2020, Plaintiffs shall file their opposition to Defendant

          Adamchik’s Motion to Dismiss;

       3. On or before January 11, 2021, Defendant Adamchik shall reply to Plaintiffs’

          opposition;

       4. On or before January 11, 2021, Defendant Seiberling shall file her Motion to Dismiss

          Plaintiffs’ Complaint;

       5. On or before February 8, 2021, Plaintiffs shall file their opposition to Defendant

          Seiberling’s Motion to Dismiss;

       6. On or before March 8, 2021, Defendant Seiberling shall reply to Plaintiffs’ opposition.
         Case 1:20-cv-01469-DLF Document 91-1 Filed 11/13/20 Page 2 of 4




     It is so ORDERED.



Dated:
                                         The Honorable Dabney L. Friedrich
                                         United States District Judge
         Case 1:20-cv-01469-DLF Document 91-1 Filed 11/13/20 Page 3 of 4




Attorneys to be notified of the Order’s entry:


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